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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
       ALVIN GREENBERG, MICHAEL                        NO. 2:21-CV-00898-RSL
 9     STEINBERG, JULIE HANSON,
       CHRISTINA KING, and RONNELL                     STIPULATED MOTION AND
10                                                     ORDER RE STATE OF
       ROBERTSON, on behalf of themselves and
       all others similarly situated,                  WASHINGTON’S
11                                                     INTERVENTION AS PLAINTIFF
12                            Plaintiffs,              UNDER FED. R. CIV. P. 5.1 AND
                                                       28 U.S.C. § 2403(b)
13            and
14     STATE OF WASHINGTON,
15                            Proposed Plaintiff-
16                            Intervenor,

17            v.

18     AMAZON.COM, INC., a Delaware
       corporation,
19
                              Defendant.
20

21
            Pursuant to LCR 7(d)(1), the undersigned parties respectfully stipulate to Proposed
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     Plaintiff-Intervenor the State of Washington’s intervention in the above-captioned matter, and
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     the State of Washington respectfully requests that the Court grant intervention as a matter of
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     right. Such intervention shall be for the limited purpose of defending the constitutionality of the
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      STIPULATED MOTION AND ORDER RE
      STATE OF WASHINGTON’S INTERVENTION
      AS PLAINTIFF UNDER FED. R. CIV. P. 5.1
      AND 28 U.S.C. § 2403(b) - 1
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 1   Washington Consumer Protection Act (CPA), RCW 19.86, as interpreted by the Washington

 2   Supreme Court in Greenberg, et al. v. Amazon.com, Inc., 3 Wash. 3d 434, 553 P.3d 626 (2024).

 3          Defendant Amazon.com, Inc.’s Motion to Dismiss under Rule 12(b)(6) and Motion to

 4   Strike Class Allegations under Rule 12(f) (Dkt. 73), among other things, challenges the

 5   application of the CPA, as interpreted and applied by the Washington Supreme Court’s answer

 6   to this Court’s certified questions to Plaintiffs’ allegations in this case. See Dkt. 73 at 13 n.10.

 7   On November 21, 2024, Defendant Amazon.com, Inc. filed a notice of constitutional challenge.

 8   Dkt. 77.

 9          Pursuant to Federal Rule of Civil Procedure 5.1(c) and 28 U.S.C. § 2403(b), the State

10   “shall [be] permit[ted] . . . to intervene . . . on the question of constitutionality.”

11   28 U.S.C. § 2403(b). The parties are not requesting any alteration of dates previously set by the

12   Court, but request the Court enter the following stipulated briefing schedule regarding the State’s

13   substantive brief in opposition to Amazon’s Motion to Dismiss:

14                 The State’s opposition brief shall be filed on or before January 29, 2025;

15                 Replies by Plaintiffs and/or Amazon to the State’s brief, if any, shall be filed on

16   or before February 26, 2025.

17          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

18          DATED this 15th day of January, 2025.

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                                              Attorney General
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21                                            s/ Ben Brysacz
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      STIPULATED MOTION AND ORDER RE
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     STIPULATED MOTION AND ORDER RE
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     AND 28 U.S.C. § 2403(b) - 3
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     STIPULATED MOTION AND ORDER RE
     STATE OF WASHINGTON’S INTERVENTION
     AS PLAINTIFF UNDER FED. R. CIV. P. 5.1
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 1            PURSUANT TO STIPULATION, IT IS SO ORDERED. The Clerk of Court is directed

 2   to renote defendant’s motion to dismiss (Dkt. # 73) on the Court’s calendar for February 26,

 3   2025.

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              Dated this 16th day of January, 2025.
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 7                                               Robert S. Lasnik
                                                 United States District Judge
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      AS PLAINTIFF UNDER FED. R. CIV. P. 5.1
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